      Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 1 of 20



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


RACHEL C. WILLIAMS, on behalf of
herself and others similarly situated,        Civil Action No. 1:14-cv-12859-LTS

      Plaintiff,

     v.

AMERICAN HONDA FINANCE CORP.,

      Defendant.



 PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


I.        INTRODUCTION

          Lenders typically sell repossessed cars at auctions, which produce meager,

fire-sale prices. Massachusetts law does not prohibit such sales, but it protects

borrowers from their ill effects in one important way: a borrower must be given

credit for the fair market value of the repossessed car when the lender calculates

a deficiency. If the sale price is less than the fair market value, the borrower is not

liable for that difference.

          When Honda repossesses and sells cars in Massachusetts it ignores this

statutory protection for consumer borrowers. Honda’s post-repossession notices

tell borrowers they will be liable for the difference between the sale price and the

balance owed, misrepresenting their statutory rights and substantially

overstating their liabilities. When the car is sold, Honda seeks to collect the
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 2 of 20



inflated, and illegal, deficiency balance. Honda’s misrepresentation of

consumers’ statutory rights, coupled with its efforts to collect more than the law

allows, violates the plain language of the Motor Vehicle Retail Installment Sales

Act, M.G.L. c. 255B, et seq. (MVRISA), the UCC and Chapter 93A.

       At issue here is MVRISA’s section 20B(e)(1), which limits the deficiency a

car loan creditor can seek. MVRISA completely bars a deficiency where the

outstanding debt is less than $2,000. And if the debt exceeds $2,000:

       the creditor shall be entitled to recover from the debtor the deficiency, if
       any, resulting from deducting the fair market value of the collateral from
       the unpaid balance due and shall also be entitled to any reasonable
       repossession and storage costs, provided he has complied with all
       provisions of this section (emphasis added).

       This case presents two discrete legal issues, both of which are ripe for

determination on summary judgment.

       Honda is entitled to recover from Ms. Williams “the deficiency resulting
       from deducting the fair market value of the collateral from the unpaid
       balance due….”1 The law requires Honda to accurately describe Ms.
       Williams’s liability for a deficiency.2 Does Honda violate Massachusetts
       law when it describes Ms. Williams’s deficiency as the difference between
       the unpaid balance due and the price obtained at auction, and when it
       seeks from her a deficiency so calculated?

       The plain meaning of “fair market value” is “[t]he price at which a willing
       seller and a willing buyer will trade … [not] auction value …”3 A
       repossession auction is a forced sale. Does Honda’s sale of Ms. Williams’s
       car at a repossession auction obtain “fair market value” for it?




1 M.G.L. c. 255B, §20B(e)(1)(the recovery includes the right to reasonable costs of
repossession and storage).
2 M.G.L. c. 106, §9-611.
3 Black’s Law Dictionary, 4th Ed. 1968.



                                         2
      Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 3 of 20



                                     ARGUMENT

II.    STANDARD OF REVIEW

       Summary judgment is appropriate when “there is no genuine issue as to

any material fact” and the “movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(c); Calderon-Garnier v. Rodriguez, 578 F.3d 33, 37 (1st Cir. 2009).

A genuine issue of fact exists only where “the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Chadwick v. WellPoint, Inc.,

561 F.3d 38, 43 (1st Cir. 2009) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986)). While all reasonable inferences must be drawn in favor of the

nonmoving party, the court “must ignore ‘conclusory allegations, improbable

inferences, and unsupported speculation.’” Am. Steel Erectors, Inc. v. Local Union

No. 7, Int’l Ass’n of Bridge, Structural, Ornamental & Reinforcing Iron Workers, 536

F.3d 68, 75 (1st Cir. 2008) (citation omitted).

III. THE PLAIN LANGUAGE OF MVRISA REQUIRES HONDA TO USE THE FAIR
MARKET VALUE OF CONSUMERS’ REPOSSESSED VEHICLES IN ITS DEFICIENCY
CALCULATIONS, A REQUIREMENT IT REFUSES TO HONOR

       A.    SECTION 20B DISPLACES SALE PROCEEDS AS THE SUBTRAHEND IN
       THE DEFICIENCY CALCULATION AND REPLACES IT WITH THE VEHICLE’S
       FAIR MARKET VALUE

       The standard commercial deficiency formula derived from the UCC is the

difference between the proceeds of the repossession sale and the amount owing

on the loan. See UCC §§ 9-610, 9-614, 9-615, which contemplate use of this

method. But repossession auction sales produce “notoriously” low prices,

“certainly less than the retail and sometimes less than the wholesale price.”



                                           3
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 4 of 20



Alperin and Chase, 36 Mass. Prac., Consumer Law § 20:87 (3d ed.), citing F.T.C.

Final Staff Report on Proposed Credit Practices Rule (1980), pp. 16, 264–269.

       Recognizing that the established UCC commercial formula left consumers

owing substantial deficiencies,4 in 1974 the Legislature changed the calculus for

retail installment vehicle loans, requiring lenders to use the fair market value of

the car as the subtrahend5 in the formula, instead of merely the auction sale

proceeds. By expressly displacing the UCC formula, MVRISA “alters the adverse

effect of this Code provision upon consumers….” Id.

       B.    “FAIR MARKET VALUE” IS NOT OBTAINED IN A FORCED SALE AT A
       REPOSSESSION AUCTION

       The term fair market value must be understood in its ordinary everyday

sense, unless the context of the statute indicates otherwise. This ordinary

meaning rule is “the most fundamental semantic rule of interpretation.” A.

Scalia, B. Garner, Reading Law: The Interpretation of Legal Texts, at 69-70 (2012). As

noted, Black’s defines “fair market value” as expressly excluding “auction value”

or “panic sales[s].”6 (emphasis added).

       A repossession auction is a forced sale which produces “notoriously” low

prices. Under MVRISA’s dictates, the “typically low price the creditor receives by



4 “The problem for consumers is that the Uniform Commercial Code permits the
creditor to dispose of collateral in any ‘commercially reasonable’ manner and to
charge against the debt the ‘proceeds of disposition,’ not the actual retail value of
the collateral. Id (emphasis added).
5 In subtraction, the first number is the minuend, the second is the subtrahend,

and the answer is called the difference.
6 Black’s Law Dictionary, 4th Ed. 1968.



                                          4
       Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 5 of 20



selling the collateral is not used to determine if a deficiency is due the creditor.

Rather, the fair market value of the collateral is deducted from the outstanding

balance, and any remaining balance is the deficiency due the creditor.” Alperin

and Chase, 36 Mass. Prac., Consumer Law § 20:87 (3d ed.). Similar protections

were enacted regulating repossession and sale in other secured consumer

transactions, using the identical deficiency limiter provisions. See c. 255 §

13J(e)(1), 2; c. 255D § 22(e)(1), 2.

         Honda’s position is that despite the revision of MVRISA to prohibit the

use of the sale proceeds to determine a deficiency, nonetheless a lender may

assume that the auction sale proceeds reflect the “fair market value” of the

vehicle. Honda’s 93A Response Letter, July 8, 2014, Exhibit D,7 Interrogatory

Response No. 4. This interpretation violates the plain meaning principle, makes

the fair market value provision superfluous, and contradicts the dictionary

definition of the term. To accept Honda’s argument, the Court would have to

assume that the Legislature felt it was necessary to rewrite multiple statutory

provisions but to leave the effect of the law unchanged. But courts have

recognized that MVRISA’s governance of the vehicle repossession and sale

process made “significant changes of great practical value to a defaulting

debtor….” Wilder v. Toyota Fin. Servs. Americas Corp., 764 F. Supp. 2d 249, 255-56

(D. Mass. 2011) (construing section 20A(e).)




7   Exhibits refer to this attached to the Declaration of John Roddy, filed herewith.

                                           5
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 6 of 20



       And it would seem that Honda agrees with this interpretation of

MVRISA, at least internally. In its Massachusetts Repossession Laws synopsis8

Honda tells its employees:

        If the unpaid balance at the time of default exceeds [$2,000] AHFC may
        recover a deficiency equal to the unpaid balance less unearned finance
        charges plus reasonable repossession and storage costs, less the fair market
        value of the vehicle or goods.

Exhibit K, emphasis added.

       Honda nevertheless argues in this litigation that when the Legislature

rewrote the statute to require the vehicle’s fair market value as the subtrahend in

the deficiency calculation instead of the auction sale proceeds, that it meant to

equate the two. But “[s]urely the Massachusetts legislature intended this

additional subsection to add something more to the consumer protection

statutes. …[y]et, under the defendants' reading of the statute, subsection (e)

would be rendered superfluous.” Wilder, 764 F. Supp. 2d at 256 (emphasis

added). Statutory language should not be interpreted to be meaningless. United

States v. Nordic Village, Inc., 503 U.S. 30, 112 S.Ct. 1011, 117 L.Ed.2d 181 (1992);

United States v. Ramirez-Ferrer, 82 F.3rd 1131 (1st Cir. 1996). A statute is to be

construed as a whole so as to make it an effectual piece of legislation in harmony

with common sense and reason. Boston Police Patrolmen’s Ass’n, Inc. v. Police Dept.

of Boston, 446 Mass. 46, 50 (2006); Morrison v. Selectmen of Town of Weymouth, 279

Mass. 486, 492 (1932).


8See Toups Deposition, Exhibit G, at 36:10, which describes Honda’s similar
UCC summary as such a “synopsis of the law.”

                                           6
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 7 of 20



IV.    MVRISA’S LEGISLATIVE HISTORY CONFIRMS THAT FAIR MARKET VALUE
IS NOT DERIVED FROM A FORCED SALE AT A REPOSSESSION AUCTION

       Prior to 1974, Massachusetts creditors were allowed to apply the sale

proceeds in determining a deficiency, even in consumer retail installment sales

transactions for cars. The previous version of Section 20A, St.1960 c. 173, as

amended, provided in relevant part, that after a commercially reasonable sale:

        C. … The proceeds of any disposition shall be applied in the following
        order:

                 (1) … reasonable expenses of preparing the motor vehicle for
                 disposition and … reasonable costs in disposing of the motor
                 vehicle;

                 (2) …. reasonable expenses of repossessing and holding the
                 motor vehicle and reasonable attorney’s fees …;

                 (3) Satisfaction of the unpaid time balance ….

       In an action to recover a deficiency, a creditor was required to file “an

affidavit signed either by the purchaser at the sale or by the holder stating the

price for which the motor vehicle was sold and the date and place of sale.” Section

20B(D)(2) (1973 version)(emphasis added). The UCC was consistent.

       The Legislature entirely rewrote sections 20A and 20B in 1974, among

other things limiting deficiencies by requiring that the fair market value of the

car be applied if more than $2,000 was owed. Section 20B(e)(1). The amendments

added other protections, too. Under prior law, creditors could seek reasonable

expenses for preparing a vehicle for disposition, for repossession, and for

holding the vehicle, along with reasonable attorney’s fees. Section 20B(A)(C)

(1973 version). The amendments limited the costs and expenses that creditors


                                          7
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 8 of 20



could include in the claimed deficiencies to “reasonable repossession and storage

costs.” Id.

       The 1974 revision of sections 20A and 20B of MVRISA were intended to

protect consumers from the distressed sale prices typically obtained at auctions

for repossessed cars. See 36 Mass. Prac., Consumer Law § 20:87, supra; see also

Shuchman, Profit On Default: An Archival Study Of Automobile Repossession And

Resale, 22 Stan. L. Rev. 20, 31 (Nov. 1969) (auction sale prices averaged only 51%

of the National Automotive Publisher’s book).

       Nothing in the statutory language suggests that creditors can, as Honda

argues, use the auction sale price to calculate a deficiency, and claim that it

represents fair market value. “[S]tudies indicated that deficiencies were

determined based on sales of repossessed vehicles for less than wholesale market

value and concluded that the U.C.C. deficiency mechanism allowed consumers

to be victimized by the poor sales practices of repossessing creditors.” Martin B.

White, Consumer Repossessions and Deficiencies: New Perspectives from New

Data, 23 B.C.L. Rev. 385, 409 (1982).

       Honda’s far-fetched construction of the applicable statutory language is

especially meritless given the requirement that consumer protection statutes like

MVRISA be liberally construed. Barnes v. Fleet Nat. Bank, N.A., 370 F.3d 164, 171

(1st Cir. 2004); Shepard v. Finance Associates of Auburn, Inc., 366 Mass. 182, 191

(1974) (consumer protection statutes are to be liberally construed to effectuate

remedial purposes). The deficiency formula to use in Massachusetts is the


                                          8
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 9 of 20



amount owed minus the fair market value. Honda simply insists on using the

wrong formula.

V.  HONDA’S POST-REPOSSESSION AND POST-SALE NOTICES VIOLATE THE
UCC

       For all of the reasons stated above, Honda is required by Massachusetts

law to apply the fair market value when it determines a deficiency and its failure

to do so violates MVRISA. Its notices, which similarly use the sale price of the

vehicle rather than its fair market value, violate the UCC’s requirement that

consumers’ deficiency liabilities be accurately disclosed.

       A.    THE UCC REQUIRES A REASONABLE DESCRIPTION OF THE LIABILITY
       FOR A DEFICIENCY

       M.G.L. c. 106 § 9-611(b) requires a repossessing creditor to send the

borrower “a reasonable authenticated notification of disposition.” Comment 2 to

this section explains that: “[t]he notification must be reasonable as to the manner

in which it is sent, its timeliness (i.e., a reasonable time before the disposition is

to take place), and its content.” To be reasonable, the content must accurately

describe the consumer’s deficiency obligation.

       M.G.L. c. 106 § 9-614(1) contains the post-repossession notice

requirements for the general class of consumer secured transactions. Specifically,

it requires creditors to send a reasonable notice after a repossession that provides

“a description of any liability for a deficiency of the person to which the

notification is sent.”




                                           9
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 10 of 20



       As Honda will likely argue, the section also contains a standard form of

notice, containing several blank spaces, which “when completed provides

sufficient notice.” M.G.L. c. 106 § 9-614(3). This form is intended for use in a

broad range of secured consumer transactions. It contains the following language

regarding the description of the consumer’s liability for a deficiency:

       The money that we get from the sale (after paying our costs) will reduce
       the amount you owe. If we get less money than you owe, you (will or will
       not, as applicable) still owe us the difference. If we get more money than
       you owe, you will get the extra money, unless we must pay it to someone
       else.

       M.G.L. c. 106 § 9-614(3) (emphasis in original).

       The operative language in Honda’s form – “the money we get from the

sale [] will reduce the amount you owe” – misstates the law. While this statement

tracks the UCC “sufficient” notice template, it is untrue because MVRISA

mandates use of the fair market value formula. An example of an accurate

description of the consumer’s deficiency obligation by another lender is

contained in the WFS Financial notice, which tracks MVRISA’s deficiency

limitation, and is therefore an accurate rendition of the law: “we may proceed

against you for any deficiency balance that may exist on your debt after applying

the fair market value of the vehicle toward our reasonable repossession and storage

charges and your debt, unless your unpaid account balance was $2,000 or less at

the time of your default.” Exhibit J (emphasis added).

       Honda’s notice is simply a generic form it has drafted for use in other

states, and reflects no effort to comply with Massachusetts’ unique scheme. It


                                          10
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 11 of 20



violates the plain language of the statute because it completely ignores that plain

language.

       B.    TO BE REASONABLE, THE DESCRIPTION OF THE CONSUMER’S
       DEFICIENCY OBLIGATION MUST ACCURATELY DESCRIBE THAT OBLIGATION

Pre-Sale Notice

       The purpose of section 9-614’s post-repossession notice requirement is to

accurately inform consumers of their rights upon repossession, as the WFS

Financial notice does. Honda’s notice does not. By statute, any error in the

mandatory information required by § 9-614(1) makes a notice legally insufficient.

M.G.L. c. 106 § 9-614(5) (a notice that follows the provided form is legally

sufficient only if it does not contain errors in the information required by § 9-

614(1)); Official Comment 2 (“A notification that lacks any of the information set

forth in paragraph (1) is insufficient as a matter of law.” (emphasis added)).

Honda’s notice, which contains an undisputable error in the description of Ms.

Williams’s liability for a deficiency – that the subtrahend in the deficiency

calculation is the sale proceeds and not the fair market value—is legally

insufficient.

       Official Comment 3 to UCC § 9-614 provides that a safe-harbor form

notice is sufficient only if it is “properly completed.” Although § 9-614(5)

contains an exception for errors, the exception only applies to errors in additional

nonmandatory information in the notification and then only if the errors are not

misleading. M.G.L. c. 106 § 9-614(5). The exception does not apply to information




                                          11
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 12 of 20



required by the statute. See Donald J. Rapson, Default and Enforcement of Security

Interests Under Revised Article 9, 74 Chicago-Kent Law Review 893, 915 (1999); see

also Marion W. Benfield, Jr., Consumer Provisions In Revised Article 9, 74 Chicago-

Kent Law Review 1255, 1270 (1999)(“The failure to include a minor-errors

protection for the consumer-goods notice suggests that any error, no matter how

slight, will make the notice inadequate and subject the creditor to substantial

statutory damages recoverable for failure to comply with the Article 9

foreclosure rules even in the absence of actual harm”).

       In contrast, § 9-613(4), which governs notices sent to non-consumer

debtors, provides that a repossession notice is sufficient even if it contains

“minor errors that are not seriously misleading.” See Official Comment 2 to 9-614

(noting that a 9-614 consumer notice that lacks any of the information required

by paragraph (1) is insufficient as a matter of law, and comparing § 9-613(2),

applicable in non-consumer transactions, “under which the trier of fact may find

a notification to be sufficient even if it lacks some information listed in paragraph

(1) of that section.”) The lack of a similar broad errors exception for the consumer

notice in § 9-614 makes clear that the requirements of § 9-614 are intended to

apply strictly. See Rapson, supra, at 914 (“for consumer-goods transactions, the

rules are significantly more stringent” than those for non-consumer-goods

transactions).




                                          12
     Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 13 of 20



Post-Sale Notice

       Section 9-616 likewise requires that following a repossession, creditors

send an explanation of the deficiency calculation before attempting to collect a

deficiency. Here, unlike in § 9-614, the statute does not provide a form of notice

that Honda can attempt to hide behind. Honda’s deficiency explanation on this

notice is similarly flawed in that it fails to accurately explain a borrower’s

deficiency liability under Massachusetts law.

       C.     HONDA’S NOTICES ARE UNREASONABLE AND INACCURATE BECAUSE
       THEY MISSTATE A BORROWER’S DEFICIENCY LIABILITY, IGNORING THE
       LIMIT IMPOSED BY MVRISA

       MVRISA displaces the UCC with respect to deficiencies in motor vehicle

repossessions. Section 20B(d) provides: “Unless displaced by the provisions of this

section and section twenty A the rights and obligations of the parties, including

the redemption and disposition of the collateral shall be governed by the

provisions of Part 6 of Article 9 of chapter 106. Notwithstanding the provisions in

Part 6 of Article 9 of chapter 106…,” deficiencies are limited by the provisions of

Section 20B. The statute is explicit, if there is a conflict MVRISA governs. This

priority is in accord with the settled tenet of statutory construction that specific

statutory language trumps the general. While sale proceeds may be used to

calculate a deficiency in some consumer transactions.10 The Legislature has

created a specific exception in MVRISA for car repossessions. A provision that



10But only those transactions not governed by c. 255B, § 20B, c. 255D, § 22 or c.
255, § 13J.

                                          13
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 14 of 20



allows the use of the sale proceeds (UCC) and one that requires the use of the fair

market value (MVRISA) poses a conflict. Given this conflict, MVRISA governs

the deficiency liability of Ms. Williams and other consumers. A notice that

describes the deficiency liability under the displaced UCC provision is

unreasonable, inaccurate and therefore defective.

       A notice that misstates the consumer’s legal rights is not “reasonable” if it

undermines the purposes of the notice requirement. See, e.g., Moore v. Fid. Fin.

Servs., Inc. 869 F. Supp. 557, 562 n. 14 (N.D. Ill. 1994) (quoting Topeka Datsun

Motor, 736 P.2d at 88) (“misleading information that undermines the entire

purpose of the notice ‘becomes no notice at all’”); Wilmington Trust Co. v. Conner,

415 A.2d 773, 776 (Del.1980) (“Any aspect of the notice that is contrary to the

purposes [for notice] necessarily prevents it from being ‘reasonable

notification.’”).

       In Wilmington Trust, an oft-cited case on the question of reasonableness,

the notice overstated the amount necessary to redeem the collateral by

incorrectly including $654.61 in rebates for unearned finance charges and

insurance premiums. 415 A.2d at 776. It was immaterial, according to the Court,

that the UCC did not require the notice to state an amount necessary to redeem.

Id. The key issue, the Court said, was whether “reasonable notification” was

given. Id. The Court explained that the “insertion of an unduly inflated figure in the

notice discourages and perhaps frustrates the attempts of the debtor to find

another buyer or to exercise his redemption rights.” Id. (emphasis added) The


                                          14
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 15 of 20



Wilmington court held that the notice violated the UCC as a matter of law,

because it was not “reasonable” and was, therefore, defective. Id.

       Generally, courts have found that a notice is “not reasonable” if it

misstates the amount owed or requires payment of charges that are not

authorized. See, e.g., Travis v. Boulevard Bank, N.A., 880 F. Supp. 1226, 1232-34

(N.D.Ill.1995)(notice requiring payment of unauthorized insurance premiums

unreasonable); First Nat’l Bank v. DiDomenico, 487 A.2d 646 (Md. 1985)(while

UCC does not require notice to include redemption rights, misstatement in notice

which abrogates those rights renders notice insufficient).

       This principle is illustrated in the context of consumer jurisprudence

under Chapter 93A. In the seminal case of Leardi v. Brown, the SJC emphasized that

in construing Chapter 93A, “regard must be had, not to fine spun distinctions and

arguments that may be made in excuse, but to the effect which it might reasonably

be expected to have upon the general public.’” Leardi v. Brown, 394 Mass. 151, 156

(citations omitted, emphases added). Honda’s inaccurate “disclosure” of

statutory rights only serves to misinform consumers of their deficiency liability,

by leading them to believe that their liability is much greater than the law allows.

This misconduct unjustly enriches Honda, as it collects inflated deficiencies in

amounts much greater than consumers actually owe it, and deprives consumers

of both their money and their rights. As such, Honda’s conduct violates Chapter

93A as well as the UCC and MVRISA.




                                          15
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 16 of 20



       Honda’s expected reliance on Gaynor v. Union Trust Co., 216 Conn. 458,

480-81, 582 A.2d 190, 201 (1990), a case decided under the UCC in effect prior to

the 2001 revisions, is misplaced. Connecticut’s Retail Installment Sales Act, which

has a different statutory scheme than Massachusetts’ MVRISA, contains a

provision that requires a notice of the distribution of the proceeds after a sale has

taken place. Conn. Gen. Stat. § 42-98(e). The statute provides that in the case of a

motor vehicle, prima facie evidence of the fair market value shall be the average of

the NADA trade-in and retail values, which can be rebutted only by direct in-

court testimony. § 42-98(g). The deficiency is determined by applying the greater

of the fair market value and the sale proceeds to the outstanding debt.

       Unlike Honda, Union Trust Co. did not simply ignore the statutory

requirements. It sent a notice stating that the proceeds were calculated in

accordance with § 42-98(e). The notice then advised the borrower: “If there was a

deficiency, as defined in section 42-98(g) of the Connecticut General Statutes, you

will be held liable for paying such deficiency in an amount equal to that which is

provided for in said statutes.” Gaynor, supra at 480. The Court found that notice

was sufficient because it contained the lender’s good faith assessment of the

deficiency remaining based on the requirements of the statute. Id.

       Notably, Gaynor did not address the applicability of the UCC notice

requirements under the current (or even the former) enactments. Nor did it

affirm the lender’s right to collect a deficiency based on the sale price, and in fact

reduced the claimed deficiency to take into account the fair market value. Id.


                                          16
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 17 of 20



       D.      HONDA’S NOTICES VIOLATE CHAPTER 93A

       Honda misrepresented the formula to be used under Massachusetts law to

calculate a deficiency. Such conduct falls squarely into the category of unfair and

deceptive practices prohibited by c. 93A. Ms. Williams’s c. 93A claim also alleges

that Honda violated M.G.L. c. 93, § 49 and 940 CMR 7.07(2). Honda’s notices

unfairly and deceptively informed Ms. Williams that she would be liable for the

difference between the auction sale price and the amount outstanding on her

loan. That representation, that it is entitled to an inflated deficiency amount, is

what MVRISA expressly precludes.

       Honda’s notices also constitute unfair debt collection pursuant to M.G.L.

c. 93, § 49, which states that:

       No one who is a creditor or an attorney for a creditor, or an
       assignee of a creditor, of a natural person present or residing in
       Massachusetts who has incurred a debt primarily for personal,
       family or household purposes shall collect or attempt to collect
       such debt in an unfair, deceptive or unreasonable manner.

Failure to comply with § 49 violates c. 93A. Id. Similarly, the debt collection

regulations promulgated by the Attorney General at 940 CMR 7.00, et seq.

prohibit such misrepresentations:

       It shall constitute a deceptive act or practice to engage in any of the
       following practices: . . . (2) Any knowingly false or misleading
       representation in any communication as to the character, extent or
       amount of the debt, or as to its status in any legal proceeding . . .

       940 CMR 7.07(2).

       Nowhere does the UCC or any Massachusetts law affirmatively permit a

creditor to misrepresent the formula for calculating a deficiency amount and to


                                          17
      Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 18 of 20



repeatedly seek that amount as Honda has done here. Thus, this case is readily

distinguishable from Riccio v. Honda Motor Credit Co., 238 F.R.D. 44 (D. Mass.

2006) (Young, J.).

         In addition, it is an elementary principle under Chapter 93A that it is a

deceptive practice to misinform consumers of their statutory rights, or to fail to

disclose facts which have the “tendency, capacity or effect” of deceiving

consumers. Slaney v. Westwood Auto, Inc., 366 Mass. 688, 703, 322 NE 2d 768, 778

(1975); Commonwealth v. Amcan Enterprises, Inc., 47 Mass. App. Ct. 330, 335 (Mass.

App. Ct. 1999) (deception standard for c. 93A is “tendency to deceive...to be

construed in the context of the reasonable consumer”). See also 940 CMR 3.05(1),

3.16(2), (3)11. Finally, a violation of MVRISA is a per se violation of Chapter 93A,

G.L. c. 255B, § 6.

VI.      CONCLUSION

         For the foregoing reasons, Ms. Williams is entitled to summary judgment.

Dated: April 30, 2015



11 940CMR 3.16 provides that an act or practice is a violation of c.93A § 2 if:
 ...
(2) Any person or other legal entity subject to this act fails to disclose to a buyer
or prospective buyer any fact, the disclosure of which may have influenced the
buyer or prospective buyer not to enter into the transaction; or

(3) It fails to comply with existing statutes [such as MVRISA § 20B(e)(1)], rules,
regulations or laws, meant for the protection of the public's health, safety, or
welfare promulgated by the Commonwealth or any political subdivision thereof
intended to provide the consumers of this Commonwealth protection.




                                           18
Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 19 of 20



                                   Respectfully submitted,


                                   /s/ John Roddy
                                   John Roddy, BBO # 424240
                                   Elizabeth Ryan, BBO # 549632
                                   Bailey & Glasser LLP
                                   99 High Street, Suite 304
                                   Boston, MA 02111
                                   (617) 439-6730 x1602

                                   Steven R. Striffler, BBO # 664224
                                   Law Office of Steven R. Striffler
                                   21 McGrath Highway, Suite 301
                                   Quincy, MA 02169
                                   (617) 290-1573
                                   (866) 314-2716 (fax)




                              19
    Case 1:14-cv-12859-LTS Document 42 Filed 04/30/15 Page 20 of 20



                              Certificate of Service

       I hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of
Electronic File (NEF) and paper copies will be sent to those indicated as non-
registered participants on April 30, 2015.



                                                /s/ John Roddy
                                                John Roddy




                                         20
